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                   EXHIBIT B
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                                                 CAUSE NO. 5:21-CV-00880-XR

11578243 CANADA, INC., D/B/A BLACKOXYGEN                              §                                                   IN THE COURT OF
ORGANICS, ET AL                                                       §

                             Plaintiff,                               §
vs.                                                                   §                        WESTERN DISTRICT OF TEXAS COUNTY,
                                                                      §
DAVID BYKOWSKI                                                        §

                           Defe ndant.                                §                               UNITED STATES DISTRICT COURT

                                   AFFIDAVIT IN SUPPORT OF SUBSTITUTE SERVICE

On thi s day pers onally appea red Steve D Perez who, be ing by m e duly sworn, depose d and said :

"The foll owing cam e to hand on Oct 18, 2021 , 10:42 am,

      SUMMONS IN A CIVIL ACTION WITH ATTACHED FIRST AMENDED COMPLAINT, APPENDIX TO FIRST AMENDED
                                      COMPLAINT, AND EXHIBIT "A"-"H",

For delivery to DAVID BYKOWSKI

1) Unsuccessful Attempt: Oct 21, 2021, 9:32 am CDT at Home: 16465 HENDERSON PASS APT# 1314, SAN ANTONIO,
TX 78232-3200

Good address. No response. Left delivery notice on the door. Verified with leasing office and spoke to a Michelle Delp
Assistant Manager that verified the residence for the subject.

Received a phone call from the subject that stated he was currently out of the state and would return in two weeks.

2) Unsuccessful Attempt: Oct 23, 2021, 9:00 am CDT at Home: 16465 HENDERSON PASS APT# 1314, SAN ANTONIO,
TX 78232-3200

No response. Left delivery notice.

3) Unsuccessful Attempt: Oct 25, 2021, 12:29 pm CDT at Home: 16465 HEND ERSON PASS APT# 1314, SAN ANTONIO,
TX 78232-3200

No response. Heard no movement at the residence. Last delivery notice was not present.

4) Unsuccessful Attempt: Oct 26, 2021, 6:43 pm CDT at Home: 16465 HENDERSON PASS APT# 1314, SAN ANTONIO,
TX 78232-3200

No response. Last delivery notice was not present. Curtains to the sliding door were open and the lights were on but
no movement within the residence. Left a delivery notice on the door. A vehicle matching the description of a Nissan
SUV that the client had furnished was present w ith Texas license plate number 8PNGG. This is a good address for
t h e s ubj ect. W e h a v e ve rifie d with man age m e nt of th e lea sing offic e a nd a phon e re po rt t h at ha s b ee n furni s hed.


I have made dil ige nt efforts to deliver sa id papers to DAVID BYKOWSKI. I have made numerous attempts at their
resi dence address as descri bed above and ha ve posted my information to the fro nt door of t heir residence. I be lieve an
efficient way to effect se rvic e is by leaving a copy wi th anyone over 16 years of age or by se cure ly attac hing the
Summons, wi th Complaint and Exhbits attached, wi th ta pe to the fron t door of DAVID BYKOWSKl 's res idence, whe re it is
sure to be se en by some one at t he reside nce, or in any other manner t he affi davit or evidence befo re t he co urt shows
will be reasonably effect ive to give the defendant notice of the sui t.
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 I am a person over eighteen (18) years of age and I am competent to make this affidavit. I am a re sident of the State of
 Te xas. I am familiar with the Texas Rules of Civil Procedure as they apply to service of Process. I am not a party to this
 suit nor related or affili ated with any herein, and have no inte rest in the outcome of the suit. I have never been convicted
 of a felony or of a misdemeanor involving moral turpitude . I have personal knowledge of the facts stated herein and they
 are true and correct."




                                                                Certification Number: PSC #12025
                                                                Certification Expiration: 05/31/2023


 BEFORE ME, a Notary Public, on this day personally appeared Steve D Perez, known to me to be the person whose name
 is subscribed to the foregoing document and, being by me first duly sworn, declared that the statements therein
 contained are within his or her personal knowledge and are true and correct.

 SUBSCRIBED AND SWORN TO ME ON



                                                                Notary Public, State ofTexas


$;~~!::_,,,,,_   DOLORES ANN PEREZ
Ji~r;;.-;. Notary Public, State of Texa1
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 ~-_..~ •••~T~
               Comm . Expires 03-30-2024
 ""''~"'''"      Notary ID 132419952
